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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

 ROGER JAMES, individually, and on
 behalf of all others similarly situated,

                Plaintiff,

 v.                                                  Case No. 2:19-CV-02260-DDC-JPO

 BOYD GAMING CORPORATION, and
 KANSAS STAR CASINO, LLC,

                Defendants.

                    PLAINTIFF’S UNOPPOSED MOTION
          FOR APPROVAL OF FLSA COLLECTIVE ACTION SETTLEMENT

       Pursuant to 29 U.S.C. § 216(b), Plaintiff moves the Court for an order approving the parties

FLSA collective action settlement. Specifically, Plaintiff requests the Court approve all aspects

of the settlement as a fair and reasonable resolution of a bona fide dispute under the FLSA. Plaintiff

further requests the Court (1) grant final collective certification; (2) approve the $1,200,000

settlement fund to pay the claims of collective members; (3) appoint Analytics Consulting LLC as

settlement administrator and approve its fees to be paid from the settlement fund as reasonable;

(4) approve the $5,000 service award to Plaintiff James to be paid from the settlement fund as

reasonable; (5) approve as reasonable the separately negotiated award of $1,100,000 attorneys’

fees to Plaintiff’s counsel; and (6) approve Plaintiff’s counsel’s $85,000 in advanced litigation

expenses to be paid from the settlement fund as reasonable.

       The basis for the requested relief is set forth in the contemporaneously filed Memorandum.
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Dated: May 5, 2022                          Respectfully submitted,

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                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

        I hereby certify that on May 5, 2022, a true and correct copy of the foregoing document
was filed electronically through the Court’s CM/ECF system, and therefore, will be transmitted to
all counsel of record by operation of the Court’s CM/ECF system.

                                            By:     /s/ Alexander T. Ricke

                                                    ATTORNEY FOR PLAINTIFF




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